Case:19-02465-ESL13 Doc#:29 Filed:06/29/19 Entered:06/29/19 07:06:51   Desc: Main
                           Document Page 1 of 6
Case:19-02465-ESL13 Doc#:29 Filed:06/29/19 Entered:06/29/19 07:06:51   Desc: Main
                           Document Page 2 of 6
Case:19-02465-ESL13 Doc#:29 Filed:06/29/19 Entered:06/29/19 07:06:51   Desc: Main
                           Document Page 3 of 6
Case:19-02465-ESL13 Doc#:29 Filed:06/29/19 Entered:06/29/19 07:06:51   Desc: Main
                           Document Page 4 of 6
Case:19-02465-ESL13 Doc#:29 Filed:06/29/19 Entered:06/29/19 07:06:51   Desc: Main
                           Document Page 5 of 6
Case:19-02465-ESL13 Doc#:29 Filed:06/29/19 Entered:06/29/19 07:06:51   Desc: Main
                           Document Page 6 of 6
